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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

MAXIM INTEGRATED PRODUCTS,                      §
INC.,                                           §
                                                §
        Plaintiff,                              §
                                                §    Civil Action No. SA-14-CV-1030-XR
v.                                              §
                                                §
STATE FARM MUTUAL AUTOMOBILE                    §
INSURANCE CO.,                                  §
                                                §
        Defendant.                              §
                                                §


                                           ORDER
       The parties have informed the Court that they have reached a settlement of the claims

in this case. To ensure that this cause does not remain on the Court’s docket in the absence of

a live controversy, the Court vacates all remaining deadlines and settings, including trial, and

ORDERS the parties to submit a stipulation of dismissal or an agreed judgment and any

appropriate supporting documents on or before December 21, 2015. See FED. R. CIV. P. 41.

Should the parties be unable to finalize the settlement and submit appropriate documents by

that date, they must request an extension of time to file the documents.

       It is so ORDERED.

       SIGNED this 20th day of November, 2015.




                                      XAVIER RODRIGUEZ
                                      UNITED STATES DISTRICT JUDGE


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